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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     J. DOE 1, et al.,                                    Case No. 22-cv-06823-JST
                                                         Plaintiffs,
                                   8
                                                                                              ORDER RE: ORDER GRANTING IN
                                                  v.                                          PART DENYING IN PART MOTION
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                                                                                              TO DISMISS
                                  10     GITHUB, INC., et al.,
                                                                                              Re: ECF No. 189
                                                         Defendants.
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                                  12
Northern District of California
 United States District Court




                                  13          The Court has restricted public access to the order Granting in Part Denying in Part Motion

                                  14   to Dismiss, ECF No. 189, because it contains or refers to material subject to sealing orders.

                                  15   Within seven days of the date of this order, the parties shall file either (1) a stipulated proposed

                                  16   redacted version of the order, redacting only those portions of the order containing or referring to

                                  17   material for which the Court has granted a motion to seal and which the parties still request be

                                  18   sealed, or (2) a stipulation that the parties agree that no redaction is necessary. If the parties

                                  19   propose redactions, they shall also email a PDF copy of the proposed redacted order, without any

                                  20   ECF headers, to jstpo@cand.uscourts.gov. The Court will review the parties’ proposal and issue a

                                  21   redacted version of the order. If the parties stipulate that no redaction is necessary, or if they fail

                                  22   to file a timely stipulation, the Court will allow full access by the public to the unredacted order by

                                  23   removing the restrictions on ECF No. 189.

                                  24          IT IS SO ORDERED.

                                  25   Dated: January 3, 2024
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                                  26
                                                                                                       JON S. TIGAR
                                  27                                                             United States District Judge

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